                 United States Court of Appeals
                           For the Eighth Circuit
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                               No. 24-2263
                       ___________________________

          Iowa Migrant Movement for Justice; Jane Doe; Elizabeth Roe

                                      Plaintiffs - Appellees

                                         v.

        Brenna Bird, in her official capacity as Attorney General of Iowa

                                     Defendant - Appellant

                       Kimberly Graham; Zach Herrmann

                                            Defendants

                            ------------------------------

                       Immigration Reform Law Institute

                              Amicus on Behalf of Appellant(s)

 American Immigration Lawyers Association; ASISTA Immigration Assistance;
Esperanza United; Tahirih Justice Center; Asian Pacific Institute on Gender-Based
                                    Violence

                                Amici on Behalf of Appellee(s)
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                    Appeal from United States District Court
                   for the Southern District of Iowa - Central
                                ____________
                          Submitted: September 26, 2024
                             Filed: January 24, 2025
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Before BENTON, ARNOLD, and KOBES, Circuit Judges.
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                                      ORDER

       The State of Iowa criminalized the presence within its boundaries of aliens
who illegally reentered the United States. Aliens violating Iowa’s Act are ordered
to return to the country they reentered from. The Act forbids judges from abating a
state prosecution due to a pending (or possible) federal determination of the alien’s
immigration status.

       Iowa Migrant Movement for Justice and two aliens residing in Iowa who
claimed to be harmed by the Act sued to enjoin enforcement of the Act. In a separate
case, the United States sued to enjoin enforcement. The district court granted both
motions for preliminary injunctions in a single opinion. The State of Iowa appeals.

       In United States v. Iowa, ___ F.4th ___, No. 24-2265 (8th Cir. Jan. __, 2025),
this court upheld the preliminary injunction of the Act. A case is moot when the
requested judicial decree will no longer affect the rights of the parties. North
Carolina v. Rice, 404 U.S. 244, 246 (1971). Regardless of the outcome of this
appeal, Iowa is enjoined against enforcing the Act. This appeal is moot. See Groshel
v. Corley, 107 F.3d 875, 1997 WL 78539, at *1 (8th Cir. 1997) (unpublished table
decision).

       This court dismisses Iowa’s appeal, vacates the district court’s grant of
appellees’ motion for a preliminary injunction, and remands to the district court with
instructions to dismiss Case No. 4:24-cv-00161. See Longley v. Holahan, 34 F.3d
1366, 1367 (8th Cir. 1994), following United States v. Munsingwear, Inc., 340 U.S.
36, 39-40 (1950) (describing “the duty of the appellate court,” when a civil case has

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become moot, to “reverse or vacate the judgment below and remand with a direction
to dismiss”).
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Order Entered at the Direction of the Court:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
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          /s/ Maureen W. Gornik




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